                      RONALD SULLIVAN LAW, PLLC
                                      Ronald S. Sullivan Jr.

                                                                                     March 9, 2025.
VIA ECF
The Honorable Eric R. Komitee
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201
                                      Re: Edmonson, et al. v. Raniere, et al.
                                                                          1:20-cv-00485-EK-CLP
Dear Judge Komitee,


                 This firm represents Clare Bronfman. We write to seek clarification on the Court’s
March 7, 2025, Order that reads, in pertinent part, “The status conference scheduled for March 10
is adjourned, notwithstanding the failure of Clare Bronfman’s counsel to comply with the Courts
order of February 28”. The Order also directs undersigned counsel to “set up a conference call
between themselves at 9 a.m. on March 10, solely for the purpose of determining a new date for
the status conference.”
                 Undersigned counsel already did what the court appears to be ordering me to do.
Counsel has conferred, agreed on a date, and forward the agreed upon date to the Court’s deputy
on March 6, 2025, the day prior to the Court issuing the Order that is subject of this letter. See
Exhibit A. We are waiting to learn whether the Court is available on that date. Accordingly, counsel
for Ms. Bronfman complied with the Court’s February 28, 2025, Order prior to the Court issuing
the March 7, 2025, Order, which claimed the opposite.
                 In all events, undersigned counsel represents that he has complied with all orders
issued by the Court. Undersigned counsel further represents that he is not available for a conference
call at 9am on March 10, 2025.
                 We await further instruction, if any, from the Court.
                                                                             Respectfully submitted,

                                                              /s/ Ronald Sullivan
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